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                        IN THE UNITED STATES DISTRICT COURT
12                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN JOSE DIVISION
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     MATT JONES, BRYSON DECHAMBEAU,          CASE NO. 5:22-cv-04486-BLF
14   PETER UIHLEIN, and LIV GOLF INC.,
                                             [PROPOSED] ORDER GRANTING
15                    Plaintiffs,            MOTION TO SHORTEN TIME TO
          v.                                 RESPOND ON MOTION TO SET A
16                                           BRIEFING SCHEDULE
     PGA TOUR, INC.,
17                    Defendant and
                      Counter-Plaintiff,
18
          v.
19   LIV GOLF INC., THE PUBLIC
     INVESTMENT FUND OF THE KINGDOM
20   OF SAUDI ARABIA, AND YASIR
     OTHMAN AL-RUMAYYAN,
21
                     Counter-Defendants.
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                      [PROPOSED] ORDER GRANTING MOTION TO SHORTEN
                   TIME TO RESPOND ON MOTION TO SET A BRIEFING SCHEDULE
                                 CASE NO. 5:22-CV-04486-BLF
          Case 5:22-cv-04486-BLF Document 387-3 Filed 04/04/23 Page 2 of 2


1           Now before the Court is Counter-Defendants the Public Investment Fund of the Kingdom of
2    Saudi Arabia and His Excellency Yasir Othman Al-Rumayyan’s Motion to Shorten Time to Respond
3    on Motion to Set a Briefing Schedule. For good cause shown, the motion is GRANTED. Defendant
4    and Counter-Plaintiff PGA Tour, Inc.’s opposition to the motion to set briefing schedule SHALL be
5    due at midnight Pacific Time on April 6, 2023.
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            IT IS SO ORDERED.
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9    Dated: _____________________              _____________________________________
                                                   HON. BETH LABSON FREEMAN
10                                                UNITED STATES DISTRICT JUDGE
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                           [PROPOSED] ORDER GRANTING MOTION TO SHORTEN
                        TIME TO RESPOND ON MOTION TO SET A BRIEFING SCHEDULE
                                      CASE NO. 5:22-CV-04486-BLF
